   Case 2:06-cr-00301-JCZ-ALC            Document 162         Filed 04/21/08     Page 1 of 13




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                   CRIMINAL ACTION

VERSUS                                                                                 NO. 06-301

LOUIS JOHNSON, ET AL.                                                          SECTION: “K”(5)


                                MEMORANDUM AND ORDER

       Before the Court is Defendant Louis Johnson’s Motion to Suppress Wiretaps. (Rec. Doc.

125) (“Mot.”). The Government has filed an opposition to the Defendant’s motion. (Rec. Doc.

157) (“Opp.”). Having reviewed the submitted briefs, the affidavits and exhibits, and the

relevant law in this matter, this Court determines that the Plaintiff’s motion should be denied for

the reasons provided herein.



I. BACKGROUND

       This case arises out of the Government’s wiretapping operation of the Defendant. On

September 27, 2006, United States District Judge Sarah S. Vance authorized an application for a

Title III wiretap on the Defendant’s cellular telephone to intercept communications concerning

the operation of narcotics distribution, identities and roles of the accomplices and other

conspirators in the distribution network, the existence of financial records and financial

resources, proceeds from the illegal activities, and locations and items used in furtherance of the

illegal activities. Order Authorizing Wiretap (Sept. 22, 2006) (“Auth. Order”), Opp., Ex. A at

44; Affidavit of Special Agent Brownlie (Sept. 27, 2006) (“Affidavit”) ¶ 13, Opp., Ex. A. at 17.

The application for wiretap was obtained following two controlled purchases of a total of six


                                                 1
   Case 2:06-cr-00301-JCZ-ALC           Document 162        Filed 04/21/08      Page 2 of 13




ounces crack cocaine from the Defendant by a confidential source. Affidavit ¶¶ 34, 40, Opp.,

Ex. A at 14, 16.

       To ensure that the DEA Special Agents, Task Force Monitors, and contracted Title III

monitors complied with minimization requirements and techniques required by Title III and

Judge Vance’s authorization, the monitors were instructed on the minimization requirements and

also received a seven page memorandum on the techniques. See DEA Report of Investigation,

Opp., Ex. B; Minimization Memorandum, Opp., Ex. C. The seven page instructional

memorandum was signed by Assistant United States Attorney, Kevin Boitmann. See Opp., Ex.

C. Furthermore, upon reading the memorandum, the other agents were required to sign the

accompanying sign up sheet to ensure that they had read the contents of the minimization

requirements. Opp., Ex. C.

       The wiretap commenced on September 28, 2006 and on October 6, 2006, the ninth day of

the wiretap, agents intercepted a conversation between the Defendant and co-defendant, Trevor

Jeffery. The two discussed killing another individual. Based upon that intercepted conversation

the agents obtained an arrest warrant for the Defendant and Jeffery, along with a search warrant

for the residence, on October 7, 2006, at 12:30 a.m. from United States Magistrate Judge Joseph

Wilkinson. Opp. at 2-3.

       The agents arrested the Defendant and upon searching his residence found more than 300

grams of crack and 1500 grams of powder in the bedroom closet. Opp. at 3. An assault rifle and

a handgun were also found. Id. After being advised of his Miranda rights, the Defendant gave

statements that the drugs and the guns belonged to him. Id. He further admitted to agents his

involvement in the drug trafficking and taking part in drug trafficking operations that had been


                                                2
   Case 2:06-cr-00301-JCZ-ALC            Document 162       Filed 04/21/08      Page 3 of 13




intercepted by the wiretap communications. Id. The Defendant also stated that he had been sold

false cocaine while in Baton Rouge and was planning to go back that night or the next to kill the

person responsible. Id. The Defendant and Jeffery were indicted on October 19, 2006. A

superseding indictment, adding other co-defendants, was returned on March 15, 2007. Id.

       The Defendant seeks suppression specifically on the following bases. First, the

Defendant alleges that the Department of Justice’s (“DOJ”) order approving the wiretap does not

identify the “appropriate individual” who is “designated by the Attorney General” to approve the

order. Mot. at 4. He also claims that the wiretap application is insufficient because a

memorandum attached to the application that granted approval was from Assistant Attorney

General Alice S. Fisher, but the memorandum instead was signed by Deputy Assistant Attorney

General Barry Sabin. Mot. at 4. He notes under this point that Deputy Assistant Attorney

General Sabin’s signature “provides no information or assurance that he has reviewed the case.”

Mot. at 5. The Defendant claims that the warrant granting permission to wiretap was not

supported by probable cause, noting that the affidavit by Special Agent M. Scott Brownlie was

“impermissibly vague” in describing the basis for probable cause. Mot. at 5-6. The Defendant

asserts that the Government did not properly consider other, less-intrusive surveillance

techniques. Mot. at 11-12. The Defendant lastly claims that the agents performing the wiretap

monitoring did not properly use minimization techniques, thus capturing conversations that were

not the target of the wiretap order. Mot. 7-11.



II. ANALYSIS




                                                  3
     Case 2:06-cr-00301-JCZ-ALC          Document 162         Filed 04/21/08     Page 4 of 13




        The Defendant moves to suppress these wiretaps, a permissible remedy under Title 18

U.S.C. § 2518(10)(a), which states:

        Any aggrieved person in any trial, hearing, or proceeding . . . may move to
        suppress the contents of any wire or oral communication intercepted pursuant to
        this chapter, or evidence derived thereof, on the grounds that –

        (i) the communication was unlawfully intercepted;

        (ii) the order of authorization or approval under which it was intercepted is
        insufficient on its face; or

        (iii) the interception was not made in conformity with the order of authorization
        or approval.

18 U.S.C. § 2518(10)(a). There appears no dispute that the Defendant is an “aggrieved person,”

and therefore has standing.

        “It is well established that the burdens of production and persuasion generally rest upon

the movant in a suppression hearing.” United States v. de la Fuente, 548 F.2d 528, 533 (5th Cir.

1977) (citations omitted). In “some well-defined’ situations the ultimate burden of persuasion

may shift to the government upon an initial showing of certain facts by the defendant. Id.

“[D]efendants must at least allege particular facts which would tend to indicate some

government impropriety,” and “general, conclusory allegations based upon mere suspicions do

not entitle a defendant to have evidence suppressed.” Id. (citations omitted).



A.      Alleged Failure to Obtain Necessary Authorization from a Person Designated by the

        Attorney General

     The Defendant contends that the Government failed to obtain proper authorization for the

wiretap application, and therefore, according to 18 U.S.C. § 2518(10)(a)(I) the communication


                                                 4
    Case 2:06-cr-00301-JCZ-ALC            Document 162       Filed 04/21/08      Page 5 of 13




was unlawfully intercepted and must be suppressed.

   Under the 18 U.S.C. § 2516(1):

       The Attorney General, Deputy Attorney General, Associate Attorney General, or
       any Assistant Attorney General, any acting Assistant Attorney General, or any
       Deputy Assistant Attorney General or acting Deputy Assistant Attorney General
       in the Criminal Division or National Security Division specially designated by the
       Attorney General, may authorize an application to a Federal judge of competent
       jurisdiction for, and such judge may grant in conformity with section 2518 of this
       chapter an order authorizing or approving the interception of wire or oral
       communications by the Federal Bureau of Investigation, or a Federal agency
       having responsibility for the investigation of the offense as to which the
       application is made . . . .

18 U.S.C. § 2516(1). The Defendant contends that neither AAG Fischer nor DAAG Sabin were

authorized to make an application for wiretaps. The Defendant argues that, because the

memorandum attached to the application is by Alice S. Fischer, the Assistant Attorney General

(AAG), but is signed by Barry Sabin, the Deputy Assistant Attorney General (DAAG), the

Government failed to obtain proper approval as per 18 U.S.C. § 2516 and accordingly the

information must be suppressed under 18 U.S.C. § 2518(10)(a)(I). Thus, the Defendant’s claim

on this point appears to be simply summed up as asserting that DAAG Barry Sabin was not

designated representative of the Attorney General for approving wiretaps.

       However, former Attorney General Alberto Gonzalez’s Order No. 2578-2005, effective

February 24, 2005, states in pertinent part that:

       I hereby specially designate the Assistant Attorney General in charge of the
       Criminal Division, any Acting Assistant Attorney General in charge of the
       Criminal Division, any Deputy Assistant Attorney General of the Criminal
       Division . . . to exercise the power conferred by Section 2516(1) of Title 18,
       United States Code, to authorize applications to a Federal judge of competent
       jurisdiction for orders authorizing or approving the interception of wire or oral
       communications by the Federal Bureau of Investigation or a Federal agency
       having responsibility for the investigation of the offense(s) as to which such
       application is made . . . .

                                                    5
   Case 2:06-cr-00301-JCZ-ALC            Document 162        Filed 04/21/08      Page 6 of 13




Attorney General Order No. 2758-2005, Feb. 24, 2005, Opp., Ex. A. at 10 (emphasis

added). This Order clearly appears to include both AAG Fischer and DAAG Sabin as

designated persons to authorize wiretaps. The Defendant heavily relies on United States

v. Giordano, 416 U.S. 505 (1974), to support his position that a failure to properly obtain

approval requires suppression of any wire intercepts. However, unlike Giordano, in the

present case there has been an approval made by a person who has been designated by

the Attorney General to review and authorize wiretap applications. Therefore, this

ground for suppression must be denied.



B. Alleged Failure to Properly Identify the Individual Authorizing the Application

       The Defendant also argues that because the authorization was from AAG Fischer

but was signed with a stamp signature by DAAG Sabin, the authorization requirement

has still been violated because there was a misidentification on the application. This

proposition finds no support in law. Indeed, in United States v. Chavez, 416 U.S. 562, 94

S.Ct. 1849, 40 L.Ed.2d 380 (1974), the Supreme Court held that, where a wiretap

application misidentified the Department of Justice official approving the wiretap, the

wiretap should not be suppressed as long as the person who actually did approve it was

authorized to do so. Id. at 568-69; 94 S.Ct. 1853.

       Here, the Government has presented the Department of Justice memorandum authorizing

the wiretap on the Defendant. The memorandum states that it is from Alice Fisher, Assistant

Attorney General for the Criminal Division. Dep’t of Justice Authorization Memorandum

(“Auth. Memo”), Opp., Ex. A at 9. At the end of the memorandum, it lists her name and


                                                 6
    Case 2:06-cr-00301-JCZ-ALC             Document 162       Filed 04/21/08      Page 7 of 13




position under the signature line. Id. at 10. However, AAG Fisher did not sign the authorization

order. Instead, Barry Sabin signed below her signature line, with a stamp below his signature

identifying him as Deputy Assistant Attorney General, Criminal Division. Id. As established

earlier in this opinion, both AAG Fisher and DAAG Sabin were designated by the Attorney

General to authorize wiretap applications. The fact that DAAG Sabin’s signature, and not AAG

Fischer’s signature, was affixed to the memorandum is not enough to suggest that the application

is insufficient. Consistent with Chavez, there is no doubt that the official authorizing this wiretap

application had the power to do so, even if it was not the precise official who drafted the original

authorization memorandum. The application does identify who approved it, DAAG Sabin, and

he is a designated authorizing individual, and that is enough to satisfy 18 U.S.C. § 2516(1).

Therefore, this point of error is meritless.

       Defendant also asserts that the mere signature of DAAG Sabin provides “no information

or assurance that [he] has reviewed the case, that he is indeed the one responsible for the case or

that [he] has authorized the application.” Mot. at 5. This abecedarian allegation contains no

factual basis whatsoever upon which this Court could act, and consequently the Defendant

cannot carry his burden. See De la Fuente, 548 F.2d at 533 (requiring the defendant “allege

particular facts which would tend to indicate some government impropriety” in order to suppress

evidence). Thus, this ground for suppression will also be denied.



C. Probable Cause for the Wiretap

       As per 18 U.S.C. § 2518(3) a judge may approve and authorize wiretapping if:

           (a) there is probable cause for belief that an individual is committing, has
               committed, or is about to commit a particular offense enumerated in

                                                  7
    Case 2:06-cr-00301-JCZ-ALC            Document 162         Filed 04/21/08      Page 8 of 13




               section 2516 of this chapter;

           (b) there is probable cause for belief that particular communications
               concerning the offense will be obtained through such interception;

           (c) normal investigative procedures have been tried and have failed or
               reasonably appear to be unlikely to succeed if tried or to be too dangerous;

           (d) except as provided in subsection (11), there is probable cause for belief
               that the facilities from which, or the place where, the wire, oral, or
               electronic communications are to be intercepted are being used, or are
               about to be used, in connection with the commission of such offense, or
               are leased to, listed in the name of, or commonly used by such person.

18 U.S.C. § 2518(3). Probable cause is a “practical, nontechnical conception” that embodies the

“factual and practical considerations of everyday life on which reasonable and prudent men, not

legal technicians act.” Illinois v. Gates, 462 U.S. 213, 231,103 S.Ct. 2317, 76 L.Ed.2d 527

(1983), citing Brinegar v. United States, 338 U.S. 160, 176, 69 S.Ct. 1302, 1311, 93 L.Ed. 1879

(1949). Determining probable cause rests on a “fluid concept – turning on the assessment of

probabilities in particular factual contexts – not readily, or even usefully, reduced to a neat set of

legal rules.” Id. at 232, 103 S.Ct. at 2329. The Supreme Court has renounced any rigid test for

probable cause, instead applying a “totality-of-the-circumstances approach.” Id. at 230, 103

S.Ct. at 2328. Probable cause determinations by the judge issuing the warrant are “conclusive in

the absence of arbitrariness” and are entitled to “great deference,” but the reviewing court must

“ensure [that the issuing judge] had a substantial basis for concluding that probable cause

existed.” United States v. Gonzales, 866 F.2d 781, 786 (5th Cir. 1986).

       In United States v. Gonzales, 866 F.2d 781 (5th Cir. 1986), the Fifth Circuit affirmed a

district judge’s order that probable cause existed to issue a warrant to wiretap the defendants.

The court explained that the district judge approved the wiretap where three confidential


                                                  8
   Case 2:06-cr-00301-JCZ-ALC           Document 162        Filed 04/21/08      Page 9 of 13




informants had affirmed that they had either discussed purchasing drugs with the defendant or

actually purchased drugs from him. Id. at 786. Moreover, pen registers placed on the

defendant’s phone line had shown that phone calls were being made from his residence to known

drug dealers. Id. at 787. This amounted to sufficient probable cause to place the wiretap.

       Here, was enough information in the application here to find probable cause. The

affidavit by Special Agent Brownlie asserted that a confidential source (“CS”) had personally

received six ounces of crack from Defendant Louis Johnson on two different occasions, and that

the Defendant was believed to be “the leader of an organization that distributes multiple

kilograms of Cocaine Base (Crack) in St. John Parish.” Affidavit ¶ 18, Opp., Ex. A at 19. The

purchases had been recorded consensually by the CS, and the details of those two purchases

were included in the affidavit. Affidavit ¶¶ 39-49, Opp., Ex. A at 24-30. The CS had received

information on the street that the Defendant and others had traveled to Houston in February 2006

to obtain approximately five kilograms of cocaine. Affidavit ¶ 26, Opp., Ex. A at 23. Special

Agent Brownlie confirmed the CS’s information in conversations with another detective who

had personally spoken with a person who had worked as the Defendant’s “cook,” i.e., a person

who converts cocaine into crack. Affidavit ¶¶ 26-27, Opp., Ex. A at 22-23. Special Agent

Brownlie also personally affirmed that the CS had previously provided reliable, truthful

information to special agents that have led to numerous purchases, arrests, and indictments.

Affidavit ¶ 28, Opp., Ex. A at 23-24. Finally, Special Agent Brownlie asserted that a pen

register placed on the Defendant’s phone line revealed that calls had been made to persons who

were known to be engaged in drug trafficking. Affidavit ¶¶ 50-53, Opp., Ex. A at 31-32. This

Court finds that this information is ample for establishing probable cause. Much as in Gonzales,


                                                9
   Case 2:06-cr-00301-JCZ-ALC           Document 162        Filed 04/21/08      Page 10 of 13




a reliable CS has provided personal knowledge of drug deals with the Defendant, the CS’s

information has been confirmed through other persons involved with the Defendant, and a pen

register has also confirmed that the Defendant is likely engaged in drug dealing. Judge Vance

was certainly not in error in finding probable cause, even without the deferential standard that

this Court is bound to apply.



D. Availability of Less Intrusive Means

       Under 18 U.S.C. § 2518(3), a wiretap application may be granted only if the judge

determines that “normal investigative procedures have been tried and have failed or reasonably

appear to be unlikely to succeed if tried or to be too dangerous.” 18 U.S.C. § 2518()3)(c). The

Defendant contends that the Government did not exhaust all other options before applying for a

wiretap. According to 18 U.S.C. § 2518(1)(c), each application for wiretaps must show a “full

and complete statement as to whether or not other investigative procedures have been tried and

failed or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous.”

18 U.S.C. § 2518(1)(c).

       The Fifth Circuit has decreed that “the proponent of the [wiretap] application need not

establish that ‘every other imaginable mode of investigation would be unsuccessful.’” United

States v. Guerra-Marez, 928 F.2d 665, 670 (5th Cir. 1991), citing United States v. Diadone, 558

F.2d 775, 778 (5th Cir. 1977). Instead, courts must take a “common sense” view to determine

whether the requirement of the necessity to wiretap has been satisfied. Id.

       In United States v. Bankston, 182 F.3d 296 (5th Cir. 1999), rev’d on other grounds sub

nom. Cleveland v. United States, 531 U.S. 12, 121 S.Ct. 365, 148 L.Ed.2d 221 (2000), the Fifth


                                                10
   Case 2:06-cr-00301-JCZ-ALC            Document 162        Filed 04/21/08      Page 11 of 13




Circuit addressed the necessity requirement in a case concerning criminal activity in the

Louisiana video poker industry. The Fifth Circuit affirmed the necessity of the wiretap order

where the FBI had asserted in the application that the government’s informant would not be

included “in any potentially incriminating conversations with third parties.” Id. at 306. The

court noted that it had affirmed wiretap orders in similar cases where “informants or undercover

agents could not infiltrate [a] conspiracy at high enough levels.” Id., citing United States v.

Krout, 66 F.3d 1420, 1425 (5th Cir. 1995).

       Similar to Bankston, the application here notes that federal agents had been using a

confidential source, but explained that further use may compromise the CS and tip-off the entire

criminal organization. Affidavit ¶ 65, Opp., Ex. A at 26. The application explains how an

undercover agent would not be able to infiltrate the organization and learn about the highest

levels of its operation. Affidavit ¶ 66, Opp., Ex. A at 27. It additionally explains how physical

surveillance would be impossible, or at best, fruitless. The application notes that the target of the

wiretap lives at a dead-end and did not have alternative avenues to enter or exit, suggesting that

physical observation would be obvious. Affidavit ¶ 56, Opp., Ex. A at 22-23. The affiant also

stated that the neighborhood would be a dangerous location for observation by an officer, and

conducting any trash searches would similarly be dangerous and potentially disruptive of the

investigation. Affidavit ¶¶ 59-62, Opp., Ex. A at 35-36. This Court finds that, similar to

Bankston, the following assertions within the affidavit submitted to support the wiretap warrant

adequately allege the necessity of the wiretap, and Judge Vance indeed was correct in finding

that no other means were available to determine the high-level workings of this conspiracy.




                                                 11
   Case 2:06-cr-00301-JCZ-ALC          Document 162          Filed 04/21/08    Page 12 of 13




E. Failure to Use Minimization Techniques

       The Defendant argues that the Government failed to properly minimize intercepted

conversations and therefore the intercepts should be suppressed. The Defendant argues that

“many calls and conversations that were recorded without regard to the minimization

requirement, including conversations concerning private, personal, and family matters that are in

no way connected to illegal or criminal conduct” because the agents “failed to show a high

regard for the right of privacy of” the Defendant and others. Mot. at 10. Indeed, the relevant

statute provides:

       Every order and extension thereof shall contain a provision that the authorization
       to intercept shall be executed as soon as practicable, shall be conducted in such a
       way as to minimize the interception of communications not otherwise subject to
       interception under this chapter, and must terminate upon attainment of the
       authorized objective, or in any event in thirty days. In the event the intercepted
       communication is in a code or foreign language, and an expert in that foreign
       language or code is not reasonably available during the interception period,
       minimization may be accomplished as soon as practicable after such interception.

18 U.S.C.A. § 2518. However, the minimization requirement is not strict. As stated by the Fifth

Circuit:

       Although 18 U.S.C. § 2515 requires minimization, it does not “require[ ]
       government agents to avoid intercepting all nonrelevant conversations when
       conducting a wiretap investigation.” On the contrary, the practical necessities of
       conducting a wiretap may, in some circumstances, inevitably lead to the
       interception of some conversations outside the scope of the wiretap order.

United States v. Brown, 303 F.3d 582, 604 (5th Cir. 2002).

       In this case, the Defendant has raised no challenge to the Government’s minimization

specific enough to raise any specter of impropriety. The Government’s wiretap application

stated that it would comply with all relevant minimization requirements. Affidavit ¶ 72, Opp.,

Ex. A at 41-42. Judge Vance’s order approving the wiretap application similarly stated that the

                                               12
   Case 2:06-cr-00301-JCZ-ALC            Document 162        Filed 04/21/08      Page 13 of 13




Government must use relevant minimization techniques. Order at 6, Opp., Ex. A at 49. The

directions by Assistant United States Attorney Kevin Boitmann to monitoring agents included

two pages of detailed instructions on minimization. Opp., Ex. C at 2-3. The Defendant has not

raised any specific challenge to these minimization instructions or to their utilization herein. In

order to successfully bear his burden of proof to seek suppression, “[D]efendant[] must at least

allege particular facts which would tend to indicate some government impropriety,” but

“general, conclusory allegations based upon mere suspicions do not entitle a defendant to have

evidence suppressed.” De la Fuente, 548 F.2d at 533 (citations omitted). There being no

allegation that the Government failed to minimize privileged or irrelevant conversations, this

Court has no means to determine whether the Defendant is entitled to any remedy. Therefore,

this ground for suppression will be denied.



III. CONCLUSION

       For the reasons provided herein, accordingly

       IT IS ORDERED that the Defendant’s Motion to Suppress Wiretap Evidence is

DENIED.


                                      21st day of April, 2008.
       New Orleans, Louisiana, this _______




                                                      ____________________________________
                                                           STANWOOD R. DUVAL, JR.
                                                         UNITED STATES DISTRICT JUDGE




                                                 13
